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                                   STATEMENT OF FACTS

        1.      Your affiant, Vince Frederic, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) since January 2021. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent with the FBI, I
am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

                        Incursion at the U.S. Capitol on January 6, 2021

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

        5.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public by a clearly marked perimeter fence line. This fence line was intended to keep the
public away from the Capitol building and the Congressional proceedings underway inside and
was manned by uniformed U.S. Capitol Police Officers and was constructed of metal bike rack
barriers, physically linked end to end, and reinforced with dark colored plastic mesh safety fencing
affixed behind the metal bike racks. The fence line was clearly marked with large white “AREA
CLOSED” signs affixed to the fencing with bold red lettering.
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       6.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                             Facts Specific to Kevin Douglas Creek

        9.     Several videos taken on January 6, 2021 at the United States Capitol depict an
individual who has now been identified as KEVIN DOUGLAS CREEK (“Creek”) assaulting law
enforcement officers who were carrying out official duties. These crimes occurred in the general
area of the West Terrace of the U.S. Capitol Building.

       10.     Your affiant identified photos of AFO-296 on FBI.gov and retrieved all information
on AFO-296 and located the video footage on the subject. Photos of AFO-296 at the U.S. Capitol
on January 6th are attached below:
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       11.    Body Camera footage revealed that AFO-296 assaulted multiple officers. All times
below are approximate:

                  a. At 14:28:59, AFO-296 is seen physically striking a law enforcement officer
                     who was carrying out official duties.
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                   b. At 14:29:06, AFO-296 is seen kicking a law enforcement officer who was
                      carrying out official duties.




        12.    An open source search was conducted to identify any social media accounts in the
name of Kevin Creek. A search of Facebook revealed an account with the handle Kevin Creek.
This Facebook profile shared a photo of a “Nailed It Roofing and Restoration” business card.
Nailed It Roofing and Restoration is registered with the Georgia Corporations Division with a
registered agent of Kevin Douglas Creek.

        13.    Your affiant reviewed a driver’s license photo issued to Creek and the Facebook
profile photos posted by Kevin Creek and also compared these to images and videos of AFO-296.
By comparing these photographs to the videos and images from the U.S. Capitol, your affiant
believes the images are all consistent with Kevin Douglas Creek.

        14.      On January 10, 2021, a complainant reported to the FBI that on January 9, 2021 or
January 10, 2021, an individual named Kevin Creek made comments while visiting Northside
Forsyth Hospital about his involvement at the U.S. Capitol riot on January 6, 2021. Creek
disclosed that he was tear gassed at the Capitol on January 6, 2021. Creek discussed running up
the stairs of the Capitol building and attempting to get inside. Creek talked about having trouble
at the door he ran to because the police were gassing individuals at his door. Creek also mentioned
he was bruised from his activity at the Capitol and admitted to a long car ride to get to DC. Creek
made general comments regarding always being armed but did not directly say whether he was
armed at the Capitol.
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       15.     During a follow up interview, the complainant said Creek mentioned he was gassed
before in the military where he never experienced the types of effects he was experiencing this
time.

        16.     Financial records obtained from JP Morgan Chase bank corroborate Creek used a
credit card issued in his name to purchase gas and food en route to and at Washington D.C. from
Alpharetta, GA. For example, on January 5, 2021, Creek used his credit card at Shell Oil in
Petersburg, VA, Quinns in Arlington, VA and at Panera Bread in Burlington, NC. On January 7,
2021, Creek used his credit card at QT in Anderson, SC and at BP in North Chester, VA.

        17.     Travel records obtained from Washington Metropolitan Area Transit Authority
confirm that on January 6, 2021 at 8:15am, Creek’s credit card was used to purchase four metro
cards. These metro cards were used to traveled from Rosslyn Station McPherson Sq Station at
approximately 8:17 am. At 11:07 am, one metro card was used to return to Rosslyn Station from
McPherson Station. The other 3 cards returned from Arch-Navy Memorial Station to Rosslyn
Station at 4:37 pm. Arch-Navy Memorial Station is located about .8 miles to the U.S. Capitol.

       18.     A hotel charge on January 8, 2021 and a conversation with a Marriott Area Director,
confirmed that Creek lodged at Courtyard by Marriott with a check-in date of January 5, 2021 and
a check-out date of January 7, 2021. This hotel is located at 1533 Clarendon Blvd, Arlington, VA
22209 directly across the Potomac river from the National Mall and the U.S. Capitol building.
Since January 6, 2021, the hotel name has changed from Courtyard by Marriott-Arlington to
Sonesta Select Arlington.

       19.     Your affiant reviewed records obtained from open sources and verified that a F-150
Supercrew with license plate ending in XXX5830 is registered to Creek. Federal Air Marshals
have also observed Kevin Creek entering this vehicle at the Hartfield Jackson International Airport
in Atlanta, Georgia. This license plate was run by an FBI-Atlanta Task Force Officer through
Leonardo, a Automatic License Plate reader in Georgia. Leonardo automatic plate reader captured
Creek driving to D.C. from Georgia on at 8:44 am on January 5, 2021 and returning at 6:11 pm on
January 7, 2021. On both occasions, the reader registered the license plate on I-85 in Franklin
County, Georgia.

        20.    On Friday, May 21, 2021, your affiant conducted an in-person, voluntary interview
with Creek and his attorney, David Joyner. There was no promise or representation to Creek or
his counsel limiting how Creek’s statements could be used. Creek admitted that he drove to
Washington D.C. on January 5 and drove home to Georgia on January 7. Creek admitted he stayed
at a hotel in Arlington, Virginia and that he took the DC Metro to the U.S. Capitol. Creek also
provided names of individuals he traveled with. Creek described the attire he was wearing on
January 6th. Creek’s description of his attire on January 6th identically matched the attire of AFO-
296.

        21.    Creek was shown photographs of AFO-296 from the January 6th riot, and Creek
admitted the photos were of him. Your affiant then played videos of both assaults on federal
officers, and Creek admitted the videos looked like him, but Creek said he “did not remember
assaulting any officer”. In addition, Creek described in great detail where he went that day and
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drew on a map where he was standing on the U.S. Capitol grounds. Creek’s drawing matches
where the body camera footage captured AFO-296’s assaults. Creek admitted he was armed with
mace and a boot knife while at the U.S. Capitol.

        22.    Initially, Creek told affiant he was live streaming January 6th and posted the stream
and photos on his Facebook account. Creek deleted those photos once he returned home. Creek
stated he may have heard about the protest from his twitter account (handle @KevinDCreek) but
stated he could not remember for certain.

       23.     When asked if Creek regretted his conduct on January 6th, he responded: “50/50”.

       24.    On the day of the interview, your affiant compared Creek’s physical appearance to
the photographs and video of AFO-296 from January 6th, and your affiant believes it is the same
person—Kevin Douglas Creek.

        25.     Participants in the riot at the U.S. Capitol on January 6, 2021, utilized mobile
devices to organize, document, and broadcast many of the events at the Capitol. As seen in the
photograph above, Creek is utilizing his cell phone. You affiant was able to confirm with Creek
that his telephone number is (***) ***-3921.

                                  Statement of Probable Cause

        26.     Based on the foregoing, your affiant submits that there is probable cause to believe
that KEVIN DOUGLAS CREEK violated 18 U.S.C. § 1752(a)(1), (2) and (4) which makes it
a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or
within such proximity to, any restricted building or grounds when, or so that, such conduct, in
fact, impedes or disrupts the orderly conduct of Government business or official functions;
(4) knowingly engage in any act of physical violence against any person or property in any
restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

       27.     Your affiant submits there is also probable cause to believe that KEVIN

DOUGLAS CREEK violated 40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (F) engage in an act of physical violence
in the Grounds or any of the Capitol Buildings.
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        28.     Your affiant submits there is probable cause to believe that KEVIN DOUGLAS
CREEK violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

      29.      Your affiant submits there is probable cause to believe that KEVIN DOUGLAS
CREEK violated 18 U.S.C. § 111(a)(1) which makes it a crime to forcibly assault, resist, oppose,
impede or interfere with any person engaged in the performance of official duties.




                                                      ________________________________
                                                      VINCE FREDERIC
                                                      Special Agent, FBI


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of June 2021.


                                                      ___________________________________
                                                      Robin M. Meriweather
                                                      U.S. MAGISTRATE JUDGE
